             Case 1:24-cv-00952-ACR Document 12 Filed 06/14/24 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



  HERITAGE FOUNDATION,

  MIKE HOWELL,

                         Plaintiffs,
                                                      Case No. 1:24-cv-00952-ACR
                   v.

  U.S. DEPARTMENT OF JUSTICE,

                         Defendant.



                                     JOINT STATUS REPORT

        In accordance with the Joint Status Report submitted by the parties on May 24, 2024,

Defendant U.S. Department of Justice (“the Department”) and Plaintiffs Heritage Foundation and

Mike Howell (“Plaintiffs”) submit this Joint Status Report.

        I.       Background

        This case concerns a FOIA request in which Plaintiffs seek all transcripts of the interview

by the Office of Special Counsel Robert Hur of Mark Zwonitzer referenced in the Special

Counsel’s Report.

        The Department produced redacted copies of those transcripts to Plaintiffs on June 12,

2024.

        II.      Briefing Schedule

        The parties have conferred and, having narrowed the issues in dispute, jointly propose the

below schedule, consistent with the Court’s Standing Order:

       Defendant files its request for a pre-motion conference by June 21, 2024;
         Case 1:24-cv-00952-ACR Document 12 Filed 06/14/24 Page 2 of 3




      Plaintiffs file their response by June 28, 2024.

       The parties intend to confer further regarding a date for a pre-motion conference, and intend

to request that the Court schedule that conference at the same date and time as that for Heritage

Foundation v. Dep’t of Just., No. 24-cv-00958-ACR.

       Counsel for defendants is not available for a pre-motion conference before the week

starting Monday, July 15, 2024.




Dated: June 14, 2024                                  Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General

                                                      ELIZABETH J. SHAPIRO
                                                      Deputy Branch Director

                                                      /s/ Robert W. Meyer
                                                      ROBERT W. MEYER (NY Bar No.
                                                      5942842)
                                                      Trial Attorney
                                                      U.S. Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      1100 L Street, N.W., Room 11105
                                                      Washington, D.C. 20005
                                                      Telephone: (202) 305-0872
                                                      Robert.W.Meyer@usdoj.gov
                                                      Counsel for Defendant

                                                     /s/ Samuel Everett Dewey
                                                     SAMUEL EVERETT DEWEY
                                                     (No. 999979)
                                                     Chambers of Samuel Everett Dewey, LLC
                                                     Telephone: (703) 261-4194
                                                     Email: samueledewey@sedchambers.com

                                                     DANIEL D. MAULER

                                                 2
Case 1:24-cv-00952-ACR Document 12 Filed 06/14/24 Page 3 of 3




                                  (No. 977757)
                                  The Heritage Foundation
                                  Telephone: (202) 617-6975
                                  Email: Dan.Mauler@heritage.org

                                  KYLE BROSNAN
                                  (No. 90021475)
                                  The Heritage Foundation
                                  Telephone: (202) 608-6060
                                  Email: Kyle.Brosnan@heritage.org

                                  ERIC NEAL CORNETT
                                  (No. 1660201)
                                  Law Office of Eric Neal Cornett
                                  Telephone: (606) 275-0978
                                  Email: neal@cornettlegal.com

                                  MAX TAYLOR MATHEU
                                  (No. 90019809)
                                  Telephone: (727) 249-5254
                                  Email: maxmatheu@outlook.com

                                  Counsel for Plaintiffs




                              3
